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                                                                         EXHIBIT INDEX

                                    Plaintiff’s Memorandum of Law in Opposition to Defendant’s Motion to Compel
                                                         Arbitration and Stay Proceedings

                                                                     3:19-cv-00123-FDW-DCK

                             Ex.                                                Description
                               1                                  Declaration of Plaintiff Mary E. Mowry
                             1(a)                                        Employment Offer Letter
                             1(b)                       Employment Agreement and Mutual Agreement to Arbitrate
                               2                                     Declaration of Kathleen M. Lucas
                             2(a)         Email correspondence between counsel regarding Plaintiff’s counsel’s unavailability
                                              Email from Defense counsel about Defendant’s intent to file a Motion to Compel
                             2(b)
                                                                              Arbitration
                             2(c)              Email from Plaintiff’s counsel to Defense counsel about being out of the office
                                                 Automated e-filing notification of Defendant’s filing the Motion to Compel
                             2(d)
                                                                                 Arbitration
                                               Email from Defense counsel to Plaintiff’s counsel stating the Motion to Compel
                             2(e)
                                                           Arbitration was filed to preserve Defendant’s rights




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